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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                     Criminal No.: 19-10080-NMG
UNITED STATES OF AMERICA
                                                     Violations:
                V.

                                                     Count One: Conspiracy to Commit
(1)      DAVID SIDOO,                                Mail and Wire Fraud and Honest
(2)      GREGORY COLBURN, and                        Services Mail and Wire Fraud
(3)      AMY COLBURN,                                 (18U.S.C. § 1349)

                         Defendants                   Count Two: Money Laundering Conspiracy
                                                      (18 U.S.C.§ 1956(h))

                                                      Forfeiture Allegations:
                                                      (18 U.S.C.§ 981(a)(1)(C) and
                                                      28 U.S.C. § 2461)

                                                      Money Laundering Forfeiture Allegations:
                                                      (18 U.S.C. § 982(a)(1))



                                 SUPERSEDING INDICTMENT


      At all times relevant to this Superseding Indictment:

                                       General Allegations


        1.     Defendant DAVID SIDOO ("SIDOO") was a resident of Vancouver, Canada.

       2.      Defendant GREGORY COLBURN was a resident of Palo Alto, California.

        3.     Defendant AMY COLBURN was a resident of Palo Alto, California.

        4.     GREGORY COLBURN and AMY COLBURN (together, "the COLBURNS")

were a married couple.

        5.     The Edge College & Career Network, LLC, also known as "The Key," was a for-

profit college counseling and preparation business based in Newport Beach, California that was

established in or about 2007 and registered in California in or about 2012.
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